                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 10-CR-142

GENER JAIMES
                     Defendant.


                                            ORDER

       Defendant Gener Jaimes pleaded guilty to conspiracy to distribute 5 kilograms of more

of cocaine. At his June 14, 2013, sentencing hearing, I adopted the facts and guidelines in the

pre-sentence report (“PSR”), including its determination that defendant was responsible for 15-

50 kilograms of cocaine, producing a base offense level of 34. U.S.S.G. § 2D1.1(c)(3) (2012).

The PSR further recommended a 3 level enhancement under U.S.S.G. § 3B1.1 and a 3 level

reduction under U.S.S.G. § 3E1.1, for a final offense level of 34. Coupled with defendant’s

criminal history category of I, this produced an imprisonment range of 151-188 months. On

consideration of the 18 U.S.C. § 3553(a) factors, I imposed a sentence of 120 months, the

minimum term required by statute.

       On December 29, 2014, defendant filed a motion for reduction of sentence under 18

U.S.C. § 3582(c)(2). That statute permits the court, in the case of a defendant who has been

sentenced to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission, to reduce the term of imprisonment, after considering

the factors set forth in § 3553(a) to the extent that they are applicable, if such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission. Defendant



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relies on Amendment 782, which generally reduced offense levels in drug trafficking cases by

2, and which the Commission designated for retroactive application. U.S.S.G. § 1B1.10(d)

(policy statement). Under that Amendment, defendant’s base offense level drops to 32,

U.S.S.G. § 2D1.1(c)(4) (2014), and his imprisonment range to 121-151 months.

       The court may not reduce a defendant’s term of imprisonment to less than the minimum

of the amended guideline range. U.S.S.G. § 1B1.10(b)(2)(A). Defendant’s existing sentence

is already below the minimum of the amended range. He therefore cannot receive a reduction.

Citing United States v. Hicks, 472 F.3d 1167 (9th Cir. 2007), defendant argues that the court

is not restricted by § 1B1.10(b)(2)(A), but Hicks’s construction of the guidelines in § 3582(c)(2)

proceedings has been rejected. See Dillon v. United States, 560 U.S. 817, 829-30 (2010);

United States v. Cunningham, 554 F.3d 703, 706 (7th Cir. 2009). Even if the guidelines were

advisory in § 3582(c)(2) proceedings, any further reduction in this case would be blocked by

the mandatory minimum. See United States v. Poole, 550 F.3d 676 (7th Cir. 2008); U.S.S.G.

§ 1B1.10 cmt. n.1(A). The government filed no motion under U.S.S.G. § 5K1.1 and 18 U.S.C.

§ 3553(e). See U.S.S.G. § 1B1.10(c).

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 248) is DENIED.

       Dated at Milwaukee, Wisconsin, this 7th day of January, 2015.

                                           /s Lynn Adelman
                                           LYNN ADELMAN
                                           District Judge




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